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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

 DOMINIC F. BARAGONA, et al.,
                             Plaintiffs,
       v.                                           1:05-cv-1267-WSD
 KUWAIT GULF LINK
 TRANSPORT COMPANY, et al.,
                           Defendants.


                            OPINION AND ORDER

I.    BACKGROUND

      This is a tort action brought by the parents of Dominic F. Baragona

(“Baragona”) seeking damages arising from the death of their son, United States

Army Lieutenant Colonel Dominic F. Baragona (“Lt. Col. Baragona”), who was

killed in an automobile accident in Iraq. The Defendants are Kuwait Gulf Link

Transport Company (“Kuwait Gulf”) and Mahmoud Muhammed Hessain Serour

(“Serour”). The accident occurred when the Army Humvee Lt. Col. Baragona was

driving collided with a truck owned by Kuwait Gulf and driven by Serour, a

Kuwait Gulf employee.
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      Plaintiffs, Lt. Col. Baragona’s parents, assert a wrongful death action in this

Court for damages resulting from Lt. Col. Baragona’s death. This Court has

determined it has jurisdiction over the action against Defendant Kuwait Gulf based

on its extensive business contacts with the state of Georgia under the Georgia long-

arm statute, O.C.G.A. § 9-10-91(1). Kuwait Gulf, despite being served on several

occasions, has refused to enter an appearance in this case, and the clerk has entered

default against it.1 Plaintiffs have presented evidence on damages.

      The only issue remaining is whether the Court should apply Georgia or Iraqi

law to this issue, and whether Plaintiff’s have satisfied the minimal showing to

obtain default judgment under the relevant law.2 The Court specifically requested

that Plaintiffs provide briefing on the relevant Iraqi law so that the Court could

make appropriate determinations about what law applies and whether Plaintiffs

have met their burden. Plaintiffs have failed to do so.


      1
        Plaintiffs are not pursing this action against individual Defendant Serour,
and he has not been served.
      2
          “[B]efore entering default judgment for damages, the district court must
ensure that the well-pleaded allegations in the complaint, which are taken as true
. . . actually state a substantive cause of action and that there is a substantive,
efficient basis in the pleadings for the particular relief sought.” Tyco Fire & Sec.,
LLC v. Hernandez Alcocer, 2007 U.S. App. LEXIS 3853, *8 (11th Cir., Feb. 22,
2007).

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II.   DISCUSSION

      A.     Georgia’s Conflicts Rules

      Federal courts sitting in diversity apply the forum state’s choice-of-law

principles. Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487 (1941). Under

Georgia law “the lex loci delicti determines the substantive rights of the parties.”

Risdon Enterprises, Inc. v. Colemill Enterprises, Inc., 324 S.E.2d 738, 740 (Ga. Ct.

App. 1984). Georgia’s lex loci rule is subject to a public policy exception, if the

harm occurred in a foreign state and the foreign state’s rule “[c]ontravenes our

established public policy, or the recognized standards of civilization and good

morals . . .” Alexander v. General Motors Corp., 446 S.E.2d 607, 661 (Ga. Ct.

App. 1995), r’vd on other grounds at 478 S.E. 2d 123 (Ga. 1996). The public

policy exception applies where “the foreign statute is designed to redress an injury,

but prescribes a form of redress which is radically dissimilar to anything existing in

our own system of jurisprudence.” Id.

      B.     Georgia and Iraqi Law at the Time of the Accident

      The accident in which Lt. Col. Baragona died occurred on May 19, 2003, in

Iraq. Because Iraq is the place of the harm, Iraqi law governs under Georgia

conflicts law unless it contravenes Georgia public policy. Because Plaintiffs have

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not provided sufficient information on the state of Iraqi law, the Court is unable to

complete this analysis.

             1.    Georgia Law

      Under Georgia law, damages for wrongful death can be recovered in the

amount of “the full value of the law of the decedent.” O.C.G.A. § 51-4-2(a). The

full value of the wrongfully ended life “consists of both the economic value of the

deceased’s normal life expectancy as determined by his expected lifetime

earnings,” as well as non-economic factors “incapable of exact proof” or even

exact definition. Dept. of Human Resources v. Johnson, 592 S.E.2d 124, 131 (Ga.

Ct. App. 2003).

             2.    Iraqi Law

      Lt. Col. Baragona’s death occurred shortly after the formation of a

provisional government that supervised Iraq shortly after the end of major

hostilities, in the interval between Saddam Hussein’s rule and the institution of the

first post-Hussein Iraqi government. Before the Court can describe the contours of

Iraqi law, it must determine what law governed Iraq at the time of the accident.

      The United States commenced hostilities against Iraq on or about March 19,

2003. By May 1, 2003, the regular Iraqi army had surrendered, Saddam Hussein

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no longer controlled the government, and President Bush declared that major

combat operations had ended. On May 16, 2003, the Coalition Provisional

Authority (“CPA”) declared itself the governing authority in Iraq. The CPA

declared at that time that the laws then-existing in Iraq remained in force until

superceded. The accident in which Lt. Col. Baragona died occurred on May 19,

2006.

        Pursuant to the CPA Order, the law of civil damages in force in 2003 should

apply to Lt. Col. Baragona’s damages claim.3 In 2003, tort suits in Iraq were

governed by the Iraqi Civil Code of 1951 and Code of Civil Procedure.4

        Iraqi Civil Code No. 40, Article 227, provides that “every person has the

right of passage on the public road provided he (observes) the safety (precautions)

so that he will not cause injury to a third party or to himself in the cases where

(safety) precautions may be taken.” Plaintiffs have pled that this statute was


        3
          Although there was a period of significant unrest and confusion between
the fall of Saddam Hussein and the rise of the CPA, this unrest indicates a
breakdown in enforcement, not the absence of laws. The Court understands the
CPA Regulation to adopt Iraqi civil law as it existed under Saddam Hussein at the
end of his reign.
        4
        The Court has relied on translations of the Iraqi Civil Code that are
contained in the treatise Business Laws of Iraq, Vol. III (Nicola H. Karam trans.,
Graham & Trotman, Middle East Business Law Series, 1990 ed.)

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violated because a Kuwait Gulf truck was driven unsafely, resulting in Lt. Col.

Baragona’s death. By refusing to appear in this action, Defendants have admitted

this allegation.

      Iraqi law also provides for vicarious liability in master-servant relationships.

The Iraqi Court of Cassations, which hears civil cases for damages, has held that

“every person who exploits an industrial or commercial enterprise [is] responsible

for the damage (injury) caused by their employee if the injury resulted from an

encroachment committed by them in the course of their service.” Decision 33,

Court of Cassations, January 27, 1982 (Iraq). This court has held that employers

are particularly liable for damages for injuries caused by their employees’

negligence.

      Although Plaintiffs have provided the law above, this law does not dispose

of all of the issues the Court must address in the conflicts analysis, nor does it

allow the Court to determine whether Plaintiffs have alleged a substantive cause of

action under Iraqi law. Plaintiffs have failed to provide the Court with Iraqi law on

three crucial issues: (1) whether Iraqi law permits recovery for wrongful death

rather than mere injury; (2) whether Iraqi law permits an adult decedent’s parents,

particularly a mother, such as the Plaintiffs in this case, to recover for the wrongful

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death of an adult; and (3) what measure of damages, if any, Iraqi law awards for

wrongful death cases.

       Without this information, neither this Court nor an appellate court in

Georgia, should these questions be required to be certified to it, can engage in even

the first step of the required inquiry and determine whether a conflict exists

between Iraqi and Georgia law. Georgia has a clear public policy allowing parents

in some circumstances to recover for the wrongful death of their adult children, and

to recover the full value of their life, including economic and non-economic

factors. Without knowing whether Iraqi law permits such suits by such plaintiffs,

or what measure of damages it permits to be awarded, the Court cannot assess

whether Iraqi law is consistent with Georgia public policy. The Court also cannot

assess whether Plaintiffs alleged a substantive cause of action under Iraqi law or

provided a sufficient basis in the pleadings for the damages they seek.

III.   CONCLUSION

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiffs have until August 31, 2007 to

supplement their briefing on Iraqi law. This briefing shall be accompanied by

certified translations of the relevant Iraqi statutes and cases. If case law is

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submitted, Plaintiffs shall provide an explanation of the precedential value of the

case opinion cited, including the purpose and authority of the deciding tribunal.

Failure to provide the required briefing, certified translations, or explanations of

authority required by this Order will result in denial of Plaintiffs’ motion for

default judgment.

      SO ORDERED this 16th day of July, 2007.




                                        _______________________________
                                        WILLIAM S. DUFFEY, JR.
                                        UNITED STATES DISTRICT JUDGE




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